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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


LA ROSA FRANCHISING, LLC, et ano.,

       Plaintiffs,
                                                 Case No. 6:21-cv-01660-ACC-DCI
v.

ANA IVELISSE MORALES, et ano.,

       Defendants.


             DEFENDANTS’ SUPPLEMENTAL CERTIFICATION
                TO MOTION TO VACATE DEFAULT AND
                 QUASH SERVICE OF PROCESS [D.E. 26]

      Pursuant to Local Rule 3.01(g) and this Court’s endorsed order on Plaintiffs’

Unopposed Motion for Extension of Time [D.E. 28], Defendants advise the Court

that on July 6, 2022 counsel for the parties communicated by telephone to discuss

their respective positions on Defendant’s Motion to Vacate Default and Quash

Service [D.E. 26]. Defendants further advise the Court that Plaintiffs have informed

the undersigned that they maintain their opposition to Defendants’ request to vacate

the Clerk’s Default [D.E. 24] and to quash service.

Dated: July 7, 2022.

                                       Respectfully submitted,

                                       SLATER LEGAL PLLC

                                       By: /s/ James M. Slater
                                             James M. Slater (FBN 111779)
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                                             113 S. Monroe Street
                                             Tallahassee, Florida 32301
                                             james@slater.legal
                                             Tel.: (305) 523-9023

                                             Counsel for Defendants



                               Certificate of Service

      I hereby certify that on July 7, 2022, I electronically filed the

foregoing document with the Clerk by using the CM/ECF system, which will serve

a copy on all counsel of record.


                                             By: /s/ James M. Slater
                                                   James M. Slater




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